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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                     CASE № 21-MJ-03549-REID
    UNITED STATES OF AMERICA,
                     Plaintiff,
    vs.
    DAISUKE MIYAUCHI,
               Defendant.
    _____________________________/

                         NOTICE OF PERMANENT APPEARANCE AS COUNSEL

             BY THIS NOTICE, RABIN & LOPEZ, P. A., and SAMUEL J. RABIN, JR.,

    ESQUIRE, enter this, their Permanent Appearance as Counsel of record for

    Defendant, DAISUKE MIYAUCHI, in connection with all Pretrial Proceedings and the

    Trial of this cause. This appearance is limited to matters before the District Court

    in the Southern District of Florida.

             The Clerk of this Court is requested to send the undersigned attorney

    copies of all Court Notices and Orders filed herein.

                                                        Respectfully submitted,

                                                        RABIN & LOPEZ, P.A.
                                                        SunTrust International Center
                                                        One Southeast Third Avenue
                                                        Suite 2600
                                                        Miami, FL 33131
                                                        Tel: 305•358•1064
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                                                        Email: sjr@miamilawyer.com

                                                        s/ Samuel J. Rabin, Jr.

                                                        SAMUEL J. RABIN, JR.
                                                        Florida Bar № 273831

                              __________________________________
                             Notice of Permanent Appearance as Counsel
                                             Page 1 of 2
     Rabin & Lopez, P.A., One Southeast Third Avenue, Suite 2600, Miami, FL 33131 • Telephone (305) 358-1064
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                                      CERTIFICATE OF SERVICE
             I HEREBY CERTIFY that on this 1st day of September 2021, a true and
    correct copy of the foregoing Notice of Permanent Appearance as Counsel was
    furnished via the CM/ECF system to all parties designated to receive the
    electronic filings in this cause.
                                                        s/ Samuel J. Rabin, Jr.

                                                        SAMUEL J. RABIN, JR.




                              __________________________________
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